
181 Ga. App. 499 (1987)
353 S.E.2d 8
IN RE A. N. Y.
73238.
Court of Appeals of Georgia.
Decided January 9, 1987.
*500 Ronnie A. Wheeler, for appellant.
Gregory C. Sowell, Michael J. Bowers, Attorney General, William C. Joy, Senior Assistant Attorney General, David C. Will, Assistant Attorney General, for appellee.
CARLEY, Judge.
Based upon an allegation that appellant-mother's illegitimate child was "deprived," the appellee-Georgia Department of Human Resources sought the termination of her parental rights to the child. The trial court conducted a hearing, found that the child was deprived and terminated appellant's parental rights. Appellant appeals from this parental rights termination order.
Appellant's sole enumeration of error addresses the sufficiency of the evidence to support the order terminating her parental rights. "`[T]he appropriate standard of appellate review in a case where a parent's rights to his child have been severed is "whether after reviewing the evidence in the light most favorable to the appellee, any rational trier of fact could have found by clear and convincing evidence that the natural parent's rights to custody have been lost."' [Cits.]" In the Interest of A. O. A., 172 Ga. App. 364, 365-366 (323 SE2d 208) (1984). "The factfinding and weighing of evidence is to be done in the trial court under the clear and convincing evidence test. The reviewing court is to defer to the lower court in the area of factfinding and should affirm unless the appellate standard of review, . . . is not met." In re B. D. C., 256 Ga. 511, 513 (350 SE2d 444) (1986). "`"[I]t is not proper to consider the question of termination of parental rights based solely upon a `welfare of the [child]' test, without some required showing of parental unfitness, caused either by intentional or unintentional misconduct resulting in abuse or neglect of the [child], or by what is tantamount to physical or mental incapability to care for the [child]." [Cit.]' [Cit.]" In the Interest of T. A. L. &amp; L. I. L., 177 Ga. App. 846, 847 (341 SE2d 496) (1986).
There was clear and convincing evidence in the instant case that appellant is mentally and emotionally incapable of caring for her child. See generally In re S. R. J., 176 Ga. App. 685 (337 SE2d 444) (1985); In the Interest of T. R. G., 162 Ga. App. 177 (290 SE2d 523) (1982). "The trial court's order contained detailed findings which supported the conclusions necessary to justify the termination of appellant's parental rights. Those findings were supported by clear and convincing evidence. [Cit.]" In re D. C. &amp; J. T. C., 176 Ga. App. 30, 32 (335 SE2d 148) (1985). "[T]he trial court specifically found that the deprivation of the [child] was continuing and was likely to continue into the future. There is sufficient `clear and convincing evidence' to support that finding. [Cit.]" (Emphasis in original.) In the Interest of T. A. L. &amp; L. I. L., supra at 847. Accordingly, the trial court did not err in terminating appellant's parental rights.
Judgment affirmed. McMurray, P. J., and Pope, J., concur.
